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       JENNIFER C. BROWN, Bar No. 230181
   2   DANIEL S. ROBERTS, Bar No. 205535
       daniel.robertsgbbklaw.com
   3   MEGAN M. MOORE, Bar No. 260178
       megan.mooregbbklaw.com
   4   BEST BEST & KRIEGER LLP
       5 Park Plaza
   5   Suite 1500
       Irvine, CA 92614
   6   Telephone: (949) 263-2600
       Facsimile: (949) 260-0972
   7
       Attorneys for Defendant
   8   TUSTIN UNIFIED SCHOOL DISTRICT
   9                                UNITED STATES DISTRICT COURT
  10                              CENTRAL DISTRICT OF CALIFORNIA
  11
  12   K.M., a minor, by and through her        Case No. SACV 10-01011 DOC (MLGx)
       Guardian Ad Litem, LYNN
  13   BRIGHT,                                  The Honorable David 0. Carter,
                                                United States District Court Judge
  14                       Plaintiff,
                                                DEFENDANT TUSTIN UNIFIED
  15             v.                             SCHOOL DISTRICT'S NOTICE OF
                                                MOTION AND MOTION FOR
  16   TUSTIN UNIFIED SCHOOL                    SUMMARY JUDGMENT;
       DISTRICT,                                MEMORANDUM OF POINTS AND
  17                                            AUTHORITIES IN SUPPORT OF
                          Defendant.            THEREOF
  18
                                                [Filed concurrently herewith:
  19
                                                (1) [Proposed] Statement of
  20                                            Uncontroverted Facts and Law;
                                                 2 Request for Judicial Notice;
 21                                              3 Declaration of Leticia Barrozo;
                                                 4 Declaration of Jennifer Brown;
 22                                              5 Declaration of Nick Friendt;
                                                 6 Declaration of Kristen Hammer;
 23                                              7 Declaration of Misty Jones;
                                                 8 Declaration of Erin Mead;
 24                                              9 Declaration of Raquel Rasmussen;
                                                 10 Declaration of Erin Thomas;
 25                                              11 Declaration of Maria Tones;
                                                 12 [Proposed] Judgment]
 26
                                                Date: May 2, 2011
 27                                             Time: 8:30 a.m.
                                                Ctrm: 9D
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             NOTICE OF MOTION AND MOTION FOR SUMMARY JUDGMENT
   2
   3               PLEASE TAKE NOTICE that on May 2, 2011 at 8:30 a.m., or as soon
   4   thereafter as the matter may be heard in Courtroom 9D of the United States District
   5    Court, located at 411 West Fourth Street, Santa Ana, CA 92701, Defendant Tustin
   6   Unified School District ("District") will, and hereby does, move for summary
   7   judgment, pursuant to Federal Rule of Civil Procedure 56, on the ground that there
   8    is no genuine issue of material fact and the District is entitled to judgment as a
   9   matter of law.
  10              The Motion is based on this Notice of Motion and Motion, the attached
  11   Memorandum of Points and Authorities, the Administrative Record, the
  12   concurrently-lodged {Proposed] Statement of Uncontroverted Facts and
  13   Conclusions of Law, the District's Request for Judicial Notice, the Declarations of
  14   Jennifer Brown, Leticia Barrozo, Nick Friendt, Kristen Hammer, Misty Jones, Erin
  15   Mead, Raquel Rasmussen, Erin Thomas, Maria Tones, the file and record in this
  16   case, and any further argument or evidence the Court deems fit to receive at the
  17   hearing on this Motion.
  18              This Motion is made following the conference of counsel pursuant to L.R. 7-
  19   3 which took place on an on-going basis throughout this litigation, including most
 20    recently on March 17, 2011.
 21
       Dated: April 4, 2011                        BEST BEST & KRIEGER LLP
 22
 23
                                                   By: /s/ Jennifer C. Brown
 24                                                   Jennifer C. Brown
                                                      Daniel S. Roberts
 25                                                   Megan M. Moore
                                                      Attorneys for Defendant,
 26                                                   TUSTIN UNIFIED SCHOOL
                                                      DISTRICT
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                             MEMORANDUM OF POINTS AND AUTHORITIES
   2
                  INTRODUCTION.
   3
   4              This action is first and foremost an appeal of an administrative hearing in
   5   which it was determined by an administrative law judge that the Defendant Tustin
   6   Unified School District ("District") prevailed on all issues heard and decided.
   7   Specifically, on July 31, 2010, Plaintiff K.M., a minor by and through her Guardian
   8   ad Litem, Lynn Bright ("Plaintiff'), filed a request for an administrative due
   9   process hearing ("DPH") before the Office of Administrative Hearings ("OAH") on
  10   behalf of K.M., a tenth grade student with a hearing impairment. Plaintiff alleged,
  11   in pertinent part, that the District denied K.M. a free appropriate public education
  12   ("FAPE"), in violation of the Individuals with Disabilities in Education Act, 20
  13   U.S.C. § 1400 ("IDEA"), by failing to provide K.M. with Computer Assisted Real
  14   Time Captioning ("CART") services in each of her high school classes.
  15              The DPH was conducted over a period of seven days before OAH in April
  16   2010. On June 1, 2010, Administrative Law Judge Timothy Newlove ("ALJ")
  17   issued a decision finding that the District provided K.M. with a FAPE without the
  18   provision of any CART services. AR001923, ¶49. 1 The ALJ further held that the
  19   District made a good faith effort to assess K.M.'s need for CART services in the
 20    high school setting; however, K.M.'s mother did not fully cooperate with these
 21    efforts. AR001915, 11117-18. Finally, the All held that the Individualized
 22    Education Program ("IEP") teams appropriately considered the request for CART
 23    services. AR001918-001920, 131-36.
 24              On July 10, 2010, Plaintiff appealed the ALJ's Decision to this Court and is
 25    seeking to overturn the Decision based on alleged factual and legal errors. Plaintiff
 26    is also seeking a finding that the District violated the Americans with Disabilities
 27
       ' AR refers to the Administrative Record maintained by OAH in the administrative
 28    action in OAH Case No. 2009080029, which is being appealed by Plaintiff herein.
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   1   Act ("ADA"), Section 504 of the Rehabilitation Act of 1973 ("Section 504"), and
   2   the Unruh Civil Rights Act ("Unruh Act") based on the same inherently flawed
   3   claims Plaintiff asserted before OAH. Namely, Plaintiff is asserting that K.M. is
   4   entitled to access, via a court reporter-style captionist and a computer screen (i.e.
   5   CART), to every spoken word in each of K.M.'s classes, without regard for whether
   6   this access is necessary in order to provide K.M. with a FAPE or "meaningful
   7   access" to her educational program. On the other hand, the District's position is
   8   that K.M. has, at all times at issue in this dispute, received a FAPE and "meaningful
   9   access" to her education. As such, K.M. does not require, nor is the District
  10   obligated to provide, any additional services to K.M., including CART.
  11             The ALJ's Decision should be upheld because it thoroughly and carefully
  12   analyzed the relevant factual and legal issues presented during the DPH, and
  13   properly concluded that K.M. does not require CART services in order to benefit
  14   from her educational program. See AR001920-001923. Further, the law has
  15   established that when discrimination claims are asserted in the context of special
  16   education, a violation of the IDEA is a necessary prerequisite for establishing a
  17   claim of discrimination. Therefore, Plaintiff cannot prevail in her ADA, Section
  18   504 or Unruh Act claims as a matter of law if the Decision is upheld. Moreover,
  19   Plaintiff cannot prove all of the requisite elements of her claims under Section 504,
  20   the ADA, or the Unruh Act. Thus, the District is entitled to summary judgment.
  21   II. STATEMENT OF BACKGROUND FACTS.
  22            At the time of the DPH until very recently, K.M. had a cochlear implant in
  23   her right ear and a hearing aid in her left ear. AR002011. K.M.'s primary mode of
  24   communication is spoken English, and K.M. is an auditory/oral learner.
  25   AR000811, 11. 1-4; AR000986-000988. During the DPH, the District's educational
 26    audiologist, Dr. Maria Abramson, testified that K.M. has "excellent auditory
 27    access" and is aware of all sounds in the frequency range within the normal range
 28    of hearing (i.e. 0 to 25 decibels). AR000974-000975. K.M.'s hearing loss in her

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           right ear, with her cochlear implant, is considered in the minimal to mild range, and
   2       K.M.'s hearing loss in her left ear, aided, is in the mild to moderate or profound
   3       range. AR000426, AR000974-000976, AR001991, AR002362. K.M. is also an
   4       excellent lip reader, which she uses to supplement her hearing. See AR001550, 11.
   5       10-17.2
   6             K.M. has been fully included in general education classes since kindergarten.
   7   AR001987, AR002012, AR002017. During the 2008/2009 school year, K.M. was
   8   promoted to honors classes in English and Social Sciences, and has remained an
   9   honors student in those two subjects through this date. AR00197-000198,
  10   AR001093; Declaration of Nick Friendt, ¶6; Declaration of Erin Thomas, ¶6.)
  11             The District has funded weekly auditory-verbal therapy ("AVT") services for
  12   K.M. since kindergarten. AR002012, AR002017. The purpose of AVT services is
  13   to train and assist K.M. to make sense of the auditory signal, and learn to listen and
  14   speak. AR000065, 11. 1-4; AR000863, 11. 8-24; AR000870874. K.M. has been very
  15   successful with her AVT services. AR002012-2016.
  16             The District has consistently offered or provided K.M. access to FM
  17   technology in the classroom. AR001989, AR002070, AR002174, AR002185,
  18   AR002209. An FM system amplifies the voice of the speaker with the microphone,
  19   or a audio signal from a television. AR000690, 11. 10-18. With an FM System, the
  20   auditory signal can be transmitted to K.M. through a sound field system (i.e.
  21   speaker(s) in the classroom), or a personal FM system (which connects directly to
  22   K.M.'s cochlear implant). AR001388.
  23             Prior to K.M.'s transition to high school, the District conducted a
  24   comprehensive triennial assessment was conducted ("Triennial Assessment").
  25
       2K.M. underwent surgery approximately one month ago to implant a second
  26   cochlear implant in her left ear. Declaration of Jennifer Brown ("Brown Decl."),
  27   ¶3, Ex. "A" attached thereto, p. 44.) It is reasonable to anticipate that K.M.'s
       auditory access is going to significantly improve in the coming weeks or months.
  28   See AR000875-000876.
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    1       AR002010-002029. 3 According to the results of the Triennial Assessment, K.M.
    2       did not have any academic, cognitive, working memory or language deficits, but
    3       rather has average to above-average skills in each of these areas. Id.; AR000633-
    4       000637; AR000719-000722. K.M.'s lack of deficits in each of these areas,
    5       including her auditory memory skills, assist her ability to hear and interpret what
    6       she hears in the classroom. AR000819.
    7             K.M. has also been provided numerous classroom accommodations in middle
    8       and high school, including preferential seating, providing homework assignments
    9   visually, providing a clear view of the teacher and instructional resources, repeating
   10   and paraphrasing student comments, closed captioning for videos, providing a copy
   11   of power point notes, and minimizing background noise. SUF, IN23-24. 4
  12              In order to further support K.M. in the high school setting, the June 2009 IEP
  13    team offered K.M. consultation services from the District's deaf/hard of hearing
  14    ("DHH") specialist. AR002046. Parent declined these services for the 2009/2010
  15    school year. AR002058-002059. In January 2011, educational audiology
  16    consultation services were initiated. Declaration of Raquel Rasmussen, r18-10.
  17              K.M. has consistently demonstrated average to above-average academic
  18    performance and classroom participation in each of her classes, including her
  19    foreign language and Honors classes. SUF, 7125-26. K.M. has reported to
  20    numerous District staff members during the last three years that she hears and
  21    understands what goes on in her classes. SUF, 7[27-28, 30-31. K.M. has
  22    successfully competed on the Basketball and Track team, enjoys attending high
  23    school dances and generally functions as a typical student, who is fully integrated
  24
  25
        3   A triennial assessment is an assessment the school district is required to conduct
        every three years to determine if an individual with a disability continues to be
  26    eligible for special education. 20 U.S.C. § 1415(c); Cal. Ed. Code, § 56381.
        4 SUF refers to the [Proposed] Statement of Uncontroverted Facts and Conclusions
  27
        of Law filed concurrently herewith, including the supporting evidence identified in
  28    support of the cited paragraph therein.
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         into the mainstream of the high school experience. Decl. Brown, ¶3, Ex. "A"
    2   attached thereto, pp. 4-45.
    3   III. STANDARD OF REVIEW.
    4             A. An Administrative Hearing Decision Is To Be Reviewed by the
                            Court According To A Modified De Novo Review Standard.
    5
    6             The standard of review of an administrative hearing decision is a modified de
    7   novo review standard, based primarily on a review of the stipulated administrative
    8   record. Seattle Sch. Dist. No. 1 v. B.S., 82 F.3d 1493, 1499 (9th Cir. 1996). In
    9   reviewing the decision of the ALJ, the Court must give "due weight" to the
   10   underlying administrative proceedings. Bd. of Educ. v. Rowley ("Rowley"), 458
  11    U.S. 176, 206 (1982). Exactly how much weight is "due" to an administrative law
  12    judge's findings is a matter of discretion of the courts. Gregory K. v. Longview
  13    Sch. Dist., 811 F.2d 1307, 1311 (9th Cir. 1987); see also Capistrano Unified Sch.
  14    Dist. v. Wartenberg, et al., 59 F.3d 884, 891 (9th Cir. 1995). However, the Court
  15    should give "substantial weight to the hearing officer's decision if the court finds
  16    that the findings are "thorough and careful." J.G. v. Douglas County School Dist.,
  17    552 F.3d 786, 792 (9th Cir. 2008). A decision is thorough and careful when the
  18    hearing officer "participates in the questioning of witnesses and writes a decision
  19    `contain[ing] a complete factual background as well as a discrete analysis
  20    supporting the ultimate conclusions.'" R.B. v. Napa Valley Unified School
  21    District, 496 F. 3d. 932, 943 (9th Cir. 2007), (citing Park v. Anaheim Union High
  22    Sch. Dist., 464 F.3d 1025, 1031 (9th Cir. 2006)).
  23              The IDEA further provides that in an action challenging an administrative
  24    decision, "the court shall receive the records of the administrative hearing, shall
  25    hear additional evidence at the request of the party, and basing its decision on the
  26    preponderance of the evidence, shall grant such relief as the court determines is
  27
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    1   appropriate." 20 U.S.C. § 1415(i)(2)(C). 5 As the party seeking relief in federal
   2    court, Plaintiff bears the burden of demonstrating that the ALJ's decision should be
   3    reversed. J.W. v. Fresno Unified School Dist., 626 F.3d 431, 428 (9th Cir. 2010).
   4              B. Motion for Summary Judgment Standard.
   5              A Motion for Summary Judgment shall be granted when there is no genuine
   6    dispute as to any material fact and the moving party is entitled to judgment as a
   7    matter of law. See Fed. R. Civ. P. 56(a); Anderson v. Liberty Lobby, Inc., 477 U.S.
   8    242, 247-48 (1986). It is the moving party's burden to show that "under the
   9    governing law, there can be but one reasonable conclusion as to the verdict."
  10    Anderson, 477 U.S. at 250.
  11              In addition, where the non-moving party has the burden of proof at trial, the
  12    moving party need not produce evidence negating or disproving every essential
  13    element of the non-moving party's case. Celotex Corp. v. Catrett, 477 U.S. 317,
  14    325 (1986). Instead, the moving party's burden is met by pointing out that there is
  15    an absence of evidence supporting the non-moving party's case. Id. The moving
  16    party is entitled to judgment as a matter of law when the non-moving party fails to
  17    make a sufficient showing as to any one of the elements of the case with respect to
  18    which the non-moving party has the burden of proof at trial. Id. at 322.
  19    IV. PLAINTIFF'S IDEA CLAIM FAILS AS A MATTER OF LAW AND
                  '1'HE ADMINISTRATIVE HEARING DECISION SHOULD BE
  20              AFFIRMED.
  21              A. FAPE Standard Under the IDEA.
  22              The IDEA is a comprehensive federal law that confers upon students with
  23    disabilities the right to a FAPE. 20 U.S.C. §§ 1400 et seq.; see also Cal. Ed. Code
  24    §§ 56000 et seq. Under the IDEA, a "FAPE" is defined as special education and
  25    related services that are provided at public expense, meet the standards of the state
  26    educational agency, and conform to the student's IEP. 20 U.S.C. § 1401(9). Under
  27
         Here, there has been no request by either party to hear additional evidence for
  28    purposes of the appeal, and any request at this date would be untimely.
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    1   the IDEA, and corresponding state law, "Special education" is defined as specially
   2     designed instruction that meets the unique needs of a child with a disability. 20
   3    U.S.C. § 1401(29); Cal. Ed. Code § 56031(a). Related services refers to those
   4     supportive services required to assist a child with a disability to benefit from special
    5   education. 20 U.S.C. § 1401(26)(A) (emphasis added).
   6               In 1982, the United States Supreme Court issued its seminal ruling in which
   7    it established the prevailing legal standard for determining what constitutes a
   8    FAPE. Rowley, 458 U.S. 176 (1982). The standard established by the Rowley
   9    Court is as follows:
  10              Providing access to a 'free appropriate public education' is the
  11              requirement that the education to which access is provided be
  12              sufficient to confer some educational benefit upon the handicapped
  13              child.....We therefore conclude that the 'basic floor of opportunity'
  14              provided by the Act consists of access to specialized instruction and
  15              related services which are individually designed to provide educational
  16              benefit to the handicapped child." Rowley, 458 U.S. at p. 200
  17              (emphasis added).
  18              The Court went on to discuss the meaning of the terms "some educational
  19    benefit" and "basic floor of opportunity," holding specifically that the Act "did not
  20    require a school district to maximize the potential of a special education child. Id.
  21    at 198. The Court in Rowley further reasoned that the grading system and
  22    advancement each year to higher grades "constitutes an important factor in
  23    determining educational benefit." Id. at 202-203. The Court in Rowley explains
  24    that when students are mainstreamed, "the system itself monitors the educational
  25    progress of the child" through "regular examinations, grades awarded and the
  26    yearly advancement which is permitted for children who attain an adequate
  27    knowledge of course material." Id. at 203. See also Gregory K, 811 F.2d at 1314
  28    ("Congress did not impose upon the States any greater substantive educational

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    1    standard than would be necessary to make such access meaningful.")
    2              The legal standard adopted by the Rowley Court is commonly referred to as
    3    the "educational benefit standard," and remains the prevailing standard for
    4    determining if a FAPE has been provided to a disabled child, as recently affiuined
    5    by the Ninth Circuit. J.L. v. Mercer Island School District, 575 F.3d 1025, 1037-38
    6   (9th Cir. 2009).
    7             The primary mechanism for offering and providing individuals with
    8   disabilities a FAPE is the IEP process. School districts are required to develop an
    9   IEP on no less than an annual basis, and set forth the student's present levels of
   10   performance, annual goals and objectives in areas of unique educational need, and a
   11   statement of the special education services and supports to be provided. 20 U.S.C.
   12   § 1414; 34 C.F.R. § 300.320. The IDEA also includes a complicated network of
  13    procedural safeguards which school districts are required to comply with when
  14    developing an IEP for a student. 20 U.S.C. § 1415; 34 C.F.R. §§ 300.324-328. In
  15    determining whether an IEP substantively complies with the "educational benefit
  16    standard," an IEP must be evaluated according to the information available at the
  17    time it was developed. Adams v. Oregon, 195 F.3d 1141, 1149 (9th Cir. 1999).
  18              B. THE ALJ's DECISION PROPERLY CONCLUDED THAT THE
                            DISTRICT COMPLIED WITH ITS OBLIGATIONS UNDER
  19                        THE IDEA.
  20              The ALJ's Decision in this matter already considered and determined the
  21    primary issue in dispute herein. Namely, whether K.M. requires CART services in
  22    order to benefit from her educational setting. The ALJ's Decision is entitled to
  23    substantial deference by this Court because it meets the legal standard for the same,
  24    based on its thorough analysis of the underlying factual and legal issues, and the
  25    overall preponderance of the evidence in the administrative record in support of the
  26    ALJ's Decision. As such, the ALJ's Decision should be affirmed by this Court.
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                           I. THE ALJ'S DECISION WAS THOROUGH AND
                              CAREFUL AND IS THEREFORE ENTITLED TO
   2                          SUBSTANTIAL DEFERENCE.
   3             The ALJ's Decision includes a thorough factual background summarizing the
   4    evidence presented at the DPH. AR001893-001912. In total, the ALJ issued
   5    eighty-three detailed factual findings. Id. The ALJ also actively participated in the
   6   proceedings, including the direct questioning of several witnesses. SUF, ¶14.
   7             The ALJ carefully considered the testimony of twenty (20) witnesses, who
   8   testified over the course of seven hearing days, analyzing the weight to be afforded
   9   to the same. Id. Consequently, the ALJ's findings regarding the credibility, skill,
  10   and competence of these witnesses is entitled to substantial deference. Ms. S. ex
  11   rel. G v. Vashon Island Sch. Dist., 337 F.3d 1115, 1127 (9th Cir. 2003); see also
  12   Amanda J. v. Clark County Sch. Dist., 267 F.3d 877, 889 (9th Cir. 2001).
  13             Here, the ALJ considered the testimony of several of K.M.'s teachers from
  14   Pioneer Middle School, and issued the following finding, which is entitled to
  15   substantial deference:
  16             "The teachers from Pioneer Middle School who testified at the hearing
  17             evidenced skill, dedication and innovation. They are clearly excellent
  18             instructors, and each had a high opinion of Student. Their testimony
  19            was persuasive as regards the benefit K.M. received from her public
  20            education, and the lack of her need for additional supports in the
  21            classroom." AR001902, ¶44.
  22             The AU similarly considered the testimony of the teachers from Beckman
  23   High School, and issued the following finding, which is also entitled to substantial
  24   deference:
  25             "The instructors from Beckman High School who testified at the
  26            hearing evidenced skill and competence. Like their counterparts at
  27            Pioneer Middle School, they are manifestly excellent instructors, and
  28            each had a high regard for Student. Their testimony was persuasive as

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    1              regards the benefit Student was receiving from her high school
   2               education, and the lack of need for additional supports in this setting."
   3              AR001912, ¶83.
   4               The ALJ also conducted a thorough and discrete analysis of the applicable
   5    legal authority and how it applies to the facts proven at the DPH. See AR001915,
   6    7'16-18; AR001918-1919, '130-36; AR001921-1923, 1144-49. Plaintiff alleges in
   7    the Complaint that the Decision "did not properly consider K.M.'s right to direct
   8    and equal access to instruction, discussion and communication at school" as alleged
   9    to be required pursuant to Education Code sections 56000.5, 5634.1(b)(4), and
  10    56345(d)(1)-(4). Complaint, p. 5, 1113,11. 11-16. However, the ALJ's Decision
  11    analyzed in detail the federal and state requirements for developing an IEP for hard-
  12    of-hearing students. AR001916-001918, 722-29. Based on this analysis, the
  13    Decision determined that there are several federal and state prescribed special
  14    factors which an IEP team is required to discuss and consider when developing an
  15    IEP for a student who is deaf or hard-of-hearing, each of which is set forth in the
  16    Decision. Id.; see also 20 U.S.C. § 1414(d)(3)(B)(iv); Cal. Ed. Code §§ 56000.5;
  17    56345 (emphasis added). These special factors include a consideration of the
  18    individual student's communication access, to peers, teachers and specialists
  19    proficient in their language. 20 U.S.C. § 1414(d)(3)(B)(iv), Cal. Ed. Code §
  20    56345(d)(2)-(3).
  21              The ALJ's Decision correctly applied this legal authority to the facts of this
  22    action and determined that the IEP teams discussed and considered each of the
  23    requisite special factors when developing K.M.'s educational program. AR001918-
  24    001919, 1130-36. Plaintiff's argument that Education Code sections 56345 and
  25    56000.5 create a substantive mandate to provide for "equal and direct access" to the
  26    spoken word in the classroom is contradicted by the plain language of the very
  27    statutes upon which Plaintiff relies. For example, Education Code section 56000.5,
  28    which merely contains findings and declarations adopted by the Legislature, states

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    1   that students with hearing impairments should be educated in programs where they
    2   have "direct and appropriate access to all components of the educational process,
    3    including, but not limited to, recess, lunch and extracurricular social and athletic
    4   activities." Cal. Ed. Code §56000.5(b)(7) (emphasis added). Nowhere does the
    5   term "equal and direct access" appear in this provision.
    6             Further, California Education Code section 56000.5, subdivision (e),
    7   explicitly states that it is not the intent of the Legislature to set a higher standard for
    8   educating individuals with disabilities than that standard set forth in the IDEA. As
    9   such, the legal analysis set forth in the ALJ's Decision is correct when it evaluated
   10   the substantive appropriateness of K.M.'s educational program through the prism of
   11   the "educational benefit standard." On the other hand, Plaintiff's flawed
   12   interpretation of these state statutory provisions was recently rejected by United
  13    States District Court for the Southern District of California. See District's Request
  14    for Judicial Notice ("RJN"), Ex. A, pp.5-10.
  15              In total, the Decision meets the legal standard for a "thorough and careful"
  16    decision, as well as a decision that is "careful, impartial and sensitive to the
  17    complexities presented." Seattle Sch. Dist. No. 1, 82 F.3d at 1499 (9th Cir. 1996);
  18    Ojai Unified Sch. Dist. v. Jackson, 4 F.3d 1467, 1471-73 (9th Cir. 1993). As such,
  19    the Decision is entitled to substantial deference in this proceeding, and should be
  20    affirmed on that basis. Park, 464 F.3d at 1031 (9th Cir. 2006).
  21                       2. THE ALJ'S FINDINGS WERE SUPPORTED BY A
                                PREPONDERANCE Oh' THEEVIDENCE, IF NOT
  22                            SUBSTANTIAL EVIDENCE.
  23             For each of the findings adopted by the AU in the Decision, the
  24    administrative record contains, at a minimum, a preponderance of the evidence in
  25    support thereof. Therefore, the Decision should further be affirmed because of the
  26    clear weight of the evidence that exists in support of the ALJ's findings.
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    1                             a.    The ALJ's Finding that the District Complied with its
                                        Obligations under the IDEA Regarding Assessment of
    2                                   K.M.- Is Supported by a Preponderance of the Evidence.
    3               It is not evident, from the face of the Complaint whether Plaintiff is
   4     challenging any of the ALJ's findings with respect to this issue. However, there
    5    was a volume of evidence presented at the DPH in support of the ALJ's
   6     determination that the District properly assessed or proposed to assess K.M.
   7     regarding the Parent's request for CART services. First, the Triennial Assessment
   8     was thorough and complete, and included several findings directly relevant to
   9    whether K.M. required CART services. AR002010-002028. Second, as part of the
  10    Triennial Assessment, the District requested consent to conduct an educational
  11    audiological assessment. AR002001, AR002052, AR002077. K.M.'s mother
  12    ("Parent") provided written consent for this assessment; however, she refused to
  13    cooperate with this assessment prior to the issuance of the Decision. Id.;
  14    AR000109. Third, during the June 2009 TEP meetings, the TEP team proposed to
  15    conduct an assessment of K.M. to further consider her need for CART services
  16    once she transitioned to the high school setting. AR002048. On June 18, 2009, the
  17    District provided an assessment plan to Parent seeking consent for this proposed
  18    assessment. AR002052. Parent did not provide consent to this assessment until
  19    December 1, 2009, nearly six months later, and even then restricted the scope of her
  20    consent. AR000165-000166; AR002081.
  21               Plaintiff failed to present any evidence disputing these findings at the DPH.
  22    Simply put, Plaintiff cannot reasonably allege that the District improperly assessed
  23    K.M.'s need for CART services when Parent refused to consent to the very
  24    assessments offered by the District to determine whether this service was needed.
  25    As such, the ALJ's finding that the District complied with its obligations to assess
  26    K.M. with respect to whether she requires CART services should be upheld.
  27
  28

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   1                            b.   The ALJ's Second Finding that the District Properly
                                     Considered K.M.'s Request for CART Services Is
   2                                 Supported by a Preponderance of the Evidence.
   3             There is substantial evidence in the record establishing that the members of

   4   the IEP team properly discussed and considered K.M.'s request for CART services.

   5   As referenced above, an IEP team for a pupil who is hard-of-hearing is required to

   6   discuss and consider various special factors when developing the student's
   7   educational program. 20 U.S.C. §1414(d)(3)(B)(iv); see also Cal. Ed. Code §
   8   56345(d). Here, multiple members of K.M.'s IEP teams testified that at both the

   9   June and October IEP meetings, each one of these special factors was discussed and

  10   considered. SUF, ¶22. These discussions included a consideration of K.M.'s

  11   communication mode, communication needs in the classroom, academic level,

  12   ability to fully participate in all components of the classroom, and the services

  13   necessary to meet these needs and provide K.M. with a FAPE. Id.

  14             According to the Complaint, it does not appear that Plaintiff is disputing that

  15   these special factors were discussed and considered by K.M.'s IEP teams. As such,

  16   based on the indisputable weight of the evidence in support of these findings, the

  17   ALJ's findings that the District complied with its procedural obligations to discuss

  18   and consider these special factors should also be affirmed.

  19                            c.   The ALJ's Third Finding that K.M. did not Require
                                     CART Services in order to Receive a FAPE Is Supported
  20                                 by a Preponderance of the Evidence.
  21             Seven different classroom teachers from Pioneer Middle School and

  22   Beckman High School testified in the DPH regarding the educational benefit K.M.

  23   has received at school with her existing supports and accommodations. SUF, ¶25.

  24   This evidence included testimony regarding K.M.'s average grades, her note taking

  25   and vocabulary skills which are comparable to her peers, her average to above-

  26   average level of classroom participation, her appropriate social interaction with her

  27   peers, her ability to communicate with teachers and peers, and her ability to fully

  28   participate in all components of her classes. Id. Some of these teachers also

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    1    detailed their opinions regarding why they believed K.M. could hear the teacher
   2     and peers in the classroom, including during class discussions. SUF, 11125, 29.
    3   Based on all of this information, the District clearly established that K.M. does not
   4    require any additional services or supports to benefit or meaningfully access her
    5   educational program. See also AR000259-000260; AR000376, 11. 4-19.
   6               Plaintiff did not rebut the majority, if not entirety, of the testimony and
   7    opinions of K.M.'s teachers and assessors. Although K.M. testified briefly at the
   8    conclusion of the proceeding, with very limited exception, she did not contradict
   9    the testimony of her teachers regarding her ability to participate in their respective
  10    classes or her academic proficiency. See AR001537-001568. Rather, K.M.
  11    testified to having "trouble" at times hearing in a few of her classes, but never
  12    explained what she meant by "trouble" nor did Plaintiff present any evidence as to
  13    how this alleged "trouble" impacted K.M.'s academic performance. See
  14    AR001538-1543, 001546-001551. It would be reasonable to presume that if this
  15    trouble K.M. was alleged to be having was impacting her receipt of educational
  16    benefit, Plaintiff would have presented this evidence at the DPH.
  17              Plaintiff also presented minimal evidence in support of the assertion that
  18    K.M. requires CART services. K.M.'s long-term auditory-verbal therapist, Karen
  19    Rothwell-Vivian, testified that K.M. may benefit from CART services. AR000894-
  20    000902. The ALJ carefully considered and weighed Ms. Rothwell-Vivian's
  21    opinion, and held that her opinion was "less persuasive than the opinion of [K.M.'s]
  22    teachers that [K.M.] does not require further supports in the classroom in order to
  23    receive educational benefit." AR001898 ¶28. The ALJ explained that Ms.
  24    Rothwell-Vivian's opinion was entitled to less weight because she had never
  25    observed K.M. in the classroom and makes a standard recommendation for CART
  26    whenever a deaf or hard-of-hearing client enters high school, without consideration
  27    of the child's unique educational needs. Id.; see also AR000935, 11. 2-12.
  28              Plaintiff also presented the testimony of a CART provider, Sandy Eisenberg,

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        to testify regarding the nature of CART services. See AR000300-000339.
    2   Although Ms. Eisenberg testified to some generic benefits that CART may provide
    3   to a hypothetical student, she had no knowledge of K.M., her classes, or her needs.
   4    AR000318, AR000329-000330. This was highlighted by the fact that the benefits
    5   of CART testified to by Ms. Eisenberg were substantially inapplicable to K.M.
   6    AR000310-000314. Moreover, Ms. Eisenberg did not provide an opinion as to
   7    whether K.M. required CART services. AR000300-000309.
   8              Finally, Plaintiff presented the testimony of Ms. Greenya, an audiologist who
   9    had only met K.M. on one occasion and, like Ms. Eisenberg, also had no
  10    information regarding K.M.'s educational program or academic performance.
  11    AR000408-000455. Ms. Greenya testified to the results of a hearing-in-noise test
  12    she conducted and concluded that K.M. would have difficulty hearing in a
  13    background of noise. AR000433. However, Ms. Greenya failed to take into
  14    account, that the testing she conducted is not comparable to the noise level in a
  15    typical classroom, but rather was that of a concert or loud party. AR000982-
  16    000984. As such, Ms. Greenya testified that she would anticipate that K.M. would
  17    do poorly at school based on her test results. AR000453, 11. 8-24. When in fact,
  18    K.M. performs very well at school. SUF, ¶25. Most noticeably, Ms. Greenya did
  19    not express any opinion regarding whether K.M. would require CART services.
  20    AR000408-000455. As such, the totality of the evidence Plaintiff presented in
  21    support of CART services for K.M. did not establish that K.M. required CART
  22    services in order to receive educational benefit, or otherwise.
  23              In conclusion, due to the thorough, careful and impartial decision issued by
  24    the ALJ, and the substantial evidence in the Administrative Record in support of the
  25    Decision, Plaintiff is unable to establish any basis upon which the Decision is in
  26    error and should be reversed. As such, the District is entitled to Summary
  27    Judgment on the Fourth Cause of Action (IDEA).
  28

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       1    V. PLAINTIFF'S CLAIMS UNDER THE ADA AND SECTION 504 FAIL
               AS A MATTER OF LAW.
    2
                      Based on the similarities between the ADA and Section 504, the District
    3
            addresses Plaintiff's claims brought under these two statutes simultaneously. As set
    4
            forth below, Plaintiff cannot prevail on her ADA and Section 504 claims because
    5
            (1) these claims are duplicative of her failed IDEA claim, and (2) Plaintiff cannot
    6
            demonstrate that she has been excluded from participation or denied the benefits of
    7
            her educational program because of her disability.
    8
                      The ADA and Section 504 prohibit entities from excluding or otherwise
    9
            denying the benefits of its services, programs, and activities on the basis of an
   10
            individual's disability. 42 U.S.C. § 12132; 29 U.S.C. § 794(a). The ADA and
   11
            Section 504 have nearly identical legal standards, and courts generally analyze the
   12
           provisions concurrently. See Estate of Martin v. Cal. VA, 560 F.3d 1042, 1047 (9th
  13
           Cir. 2009) ("Because `[t]here is no significant difference in analysis of the rights
  14
           and obligations created by the ADA and the Rehabilitation Act,' we have
  15
           consistently applied 'the same analysis to claims brought under both statutes,' and
  16
           again do so here.") (citations omitted); Zukle v. Regents of University of California,
  17
            166 F.3d 1041, 1045 n.11 (9th Cir. 1999).
  18
                     To obtain relief under the ADA and Section 504, Plaintiff must show that
  19
           (1) she is a handicapped individual; (2) she is otherwise qualified for participation
  20
           in the program; and (3) she was excluded from participation in or denied the
  21
           benefits of the services, programs, or activities of the District because of her
  22
           disability.6 42 U.S.C. § 12132; 29 U.S.C. § 794(a); Estate of Martin, 560 F.3d at
  23
           1047; Zukle, 166 F.3d at 1045 n.11.
  24
  25
  26         The only distinction between the burden of proof for Section 504 and the ADA is
  27       that Section 504 applies only to public entities who receive federal funds. Compare
           42 U.S.C. 12132 with 29 U.S.C. § 794(a); see also Estate of Martin, 560 F.3d at
  28       1047, fn. 7.
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    1             A.        Plaintiff's Section 504 and ADA Claims Are Derivative of
                            Plaintiffs Failed IDEA Claim.
   2
                  ADA and Section 504 claims seeking the same relief and services as those
   3
        sought under the IDEA are derivative to the IDEA claim. See Doe v. Arlington
   4
        County Sch. Bd., 41 F.Supp.2d 599, 608 (E.D. Va. 1999) (superseded by statute on
   5
        other grounds in N.L. v. Knox County Schs., 315 F.3d 688 (6th Cir. 2003)); D.F. v.
   6
        Western Sch. Corp., 921 F.Supp. 559, 573-74 (S.D. Ind. 1996). Accordingly, if the
   7
        IDEA claim asserted by Plaintiff in this appeal fails, then the ADA and Section 504
   8
        claims necessarily fail as well. D.F., 921 F.Supp. at 573-74; see also N.L., 315
   9
        F.3d at 695-696 (The 1986 amendments to the IDEA "[have] not been held to have
  10
        altered the prior holdings that more harm is required than a denial of free
  11
        appropriate public education to make out a section 504 claim."); Doe, 41 F.Supp.2d
  12
        at 608 (E.D. Va. 1999) (finding that where IDEA claims are subject to dismissal,
  13
        Section 504 claims based on same allegations must also be dismissed); Scanlon by
  14
        Birkner v. San Francisco Unified Sch. Dist., 1994 U.S. Dist. LEXIS 4817 (N.D.
  15
        Cal. 1994) ("Because the District complied with the requirements of the IDEA, the
  16
        District also satisfied the education requirements of the Rehabilitation Act.").
  17
                 In D.F., parents of a student who presented with multiple disabilities filed a
  18
        suit alleging denial of FAPE under the IDEA and concurrent discrimination claims
  19
        under Section 504 and the ADA. D.F., 921 F.Supp. at 563. The court upheld the
  20
        administrative decision arising under the IDEA, concluding that the district's offer
  21
        of placement outside of the general education setting was appropriate. Id. at 569-
  22
        571. D.F. further argued that he had been discriminated against by being
  23
        improperly excluded from general education classes in violation of Section 504 and
  24
        the ADA. Id. at 573-574. In denying relief under these provisions, the court held
  25
        that "[o]ther courts entering summary judgment on IDEA claims have summarily
  26
        dismissed accompanying [Section 504] and ADA claims." Id. at 574 (citations
  27
        omitted). Thus, because the parents did not meet the burden of proving their IDEA
  28

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         claims, their Section 504 and ADA claims also failed. Id. see also Alex G. v. Board
    2    of Trustees of Davis Joint Unified School District, 387 F.Supp. 2d 1119, 1124
    3    (E.D. Cal. 2005) (the establishment of a violation of the IDEA is a necessary, but
    4   not sufficient, component of bringing a valid discrimination claim under Section
    5    504 in the special education context).
    6             Here, Plaintiff's ADA and Section 504 claims are derivative of the failed
    7   IDEA claim, and therefore should be summarily dismissed. The Complaint itself
    8   establishes that Plaintiff is raising the same claims pursuant to the ADA and
    9   Section 504 as are being raised pursuant to the IDEA. Specifically, Plaintiff alleges
   10   that CART services are necessary to provide "direct and equal access" to the
   11   spoken word pursuant to the California Education Code, IDEA, Section 504, the
   12   ADA and Unruh. Complaint, ¶3. As such, Plaintiff is applying the same legal
   13   standard (i.e. "direct and equal access to the spoken word") to each of these
   14   statutory provisions, and is requesting the same relief based on this contention (i.e.
   15   CART services).' A further review of the Complaint indicates that Plaintiff is
  16    relying on the same factual assertions in support of the First, Second and Third
  17    Causes of Action brought pursuant to Section 504, the ADA and the Unruh Act
  18    respectively, without any distinction as to the supporting facts therein. In short,
  19    Plaintiffs claims, whether asserted pursuant to the ADA, Section 504 or the IDEA
  20    are duplicative. However, in that the evidence has already established that K.M.
  21    does not require CART services to receive a FAPE, this Court should summarily
  22    dismiss the Section 504 and ADA claims as well.
  23             Any other conclusion would be quite untenable. A school district can not
  24    logically be deemed, on the one hand, to fully comply with the federal law
  25
  26    'Plaintiff identified the singular benefit to which K.M. is alleged to being denied, in
  27    violation of Section 504 and the ADA as follows: "[a]ccess to words spoken in
        class just like any other student without a hearing disability." Decl. Brown, ¶6, Ex.
  28    "C", attached thereto.
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    1   specifically designed to provide individuals with disabilities an appropriate public
   2    education, including compliance with specific statutes governing the development
   3    of such programs for hard-of-hearing individuals, and on the other hand, be found
   4    to have discriminated against that student under a different federal law on the basis
   5    of the same facts and claims. It is because of the untenable nature of such a result
   6    that the caselaw cited above has consistently found that in order to establish a claim
   7    for discrimination under Section 504 and the ADA, something more than a denial
   8    of FAPE must be proven. Here, Plaintiff cannot establish a denial of FAPE under
   9    the IDEA, and on that basis her Section 504 and ADA claims should also be
  10    dismissed pursuant to this Motion.
  11               B.        Even if Plaintiff's Failure to Establish Her IDEA Claim is Not
                             Determinative of the Section 504 and ADA Claims, Plaintiff Is Not
  12                         Otherwise Able To Establish that She Has Been Denied
                             Meaningful Access to Her Education.
  13
                   When examining whether a student is excluded from participation solely by
  14
        reason of a disability, the court will consider whether a school district provided
  15
        reasonable accommodations to the student. Bird v. Lewis & Clark College, 303
  16
        F.3d 1015 (9th Cir. 2002); Cave v. E. Meadow Union Free Sch. Dist., 480 F. Supp.
  17
        2d 610, 640 (E.D.N.Y. 2007). A reasonable accommodation does not require the
  18
        district to fundamentally alter its existing program. 28 C.F.R. § 35.130(b)(7);
  19
        Alexander v. Choate, 469 U.S. 287, 300 (1985); Bird, 303 F.3d at 1020. However,
  20
        any reasonable accommodation must provide the individual with meaningful access
  21
        to the program or service. Bird, 303 F.3d at 1020; Wiles and Bond v. Department
  22
        of Education, State of Hawaii, 593 F.Supp. 2d 1776 (D. Haw. 2008). Thus, to
  23
        succeed on her claims under Section 504 and the ADA, Plaintiff must show that the
  24
        District denied her meaningful access to her educational program.
  25
                  Further, Plaintiff must prove more than a mere difference and/or inequality in
  26
        the impact between herself and other non-disabled peers in the classroom. In
  27
        Crowder, the Ninth Circuit reasoned "that judicial review over each and every
  28

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         instance of disparate impact discrimination would be overly burdensome."
    2    Crowder, 81 F.3d, 1480, 1484 (9th Cir. 1996) (citing Alexander, 469 U.S. 287; see
    3    also Hunsaker v. Contra Costa County, 149 F.3d 1041 (9th Cir. 1998). Instead of
    4    classifying every instance of discrimination as deliberate or disparate impact, the
    5    Ninth Circuit instead analyzed "whether disabled persons were denied meaningful
    6    access to state-provided services." Crowder, 81 F.3d at 1484.
    7             In the educational context, meaningful access does not require access to
    8    every potential aspect of a program or service. See Bird, 303 F.3d 1015; Wiles and
    9    Bond, 593 F.Supp. 2d 1776; Cave, 480 F. Supp. 2d at 640. For example, in Bird,
   10   the plaintiff alleged disability discrimination under both Section 504 and the ADA
   11   because she was not able to access all aspects of an overseas post-secondary
   12   education program due to restrictions from her wheelchair. Bird, 303 F.3d at 1017-
   13    1019. The college argued that the mere fact that not all components of the program
   14   operated the way student would have preferred did not mean that the college had
  15    failed to reasonably accommodate the student. Id. 1020-1021. The Ninth Circuit
  16    held that "reasonableness depends on the circumstances of each case, and requires a
  17    `fact-specific individualized analysis of the disabled individual's circumstances and
  18    the accommodations that would allow [him] to meet the program's standards.'" Id.
  19    at 1020, (citing Vinson v. Thomas (9th Cir. 2002) 288 F.3d 1145, 1154). In Bird,
  20    the student's participation was determined to be meaningful because she "enjoyed
  21    many of the benefits offered by the program." Id at 1021.
  22              In Wiles, the Hawaii District Court considered meaningful access under
  23    Section 504 in the context of K-12 public education for a special education student.
  24    Wiles, 593 F. Supp. 2d 1776. Although the student's IEP was not implemented on
  25    some occasions, the services that were implemented were held to provide the
  26    student with meaningful access. Id. at 1180. The court clarified that the failure to
  27    implement an IEP does not constitute a denial of meaningful access per se. Id. at
  28    1181, fn. 4. Rather, the meaningful access inquiry under Section 504 was held to

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    1   focus on the opportunities given to disabled individuals, rather than progress. Id.;
   2    see also Mark H. v. Lemahieu, 513 F.3d 922, 938 (9th Cir. 2008). Relying on the
    3   testimony of the student's teachers and service providers, the court found that the
   4    evidence overwhelmingly showed the student "enjoyed the benefits" of his public
    5   education and therefore the district provided meaningful access. Id. at 1182-1183.
   6              In Cave, 480 F. Supp. 2d at 640 , the court considered whether a school
   7    district violated Section 504 and the ADA by prohibiting a hard-of-hearing student
    8   from bringing his service dog onto school grounds. The student had profound
   9    hearing loss, but, with the use of cochlear implants, the loss was reduced to mild.
  10    The district provided the student with an FM transmitter, a sign language
  11    interpreter, a note taker, closed captioning on videos and films, and preferential
  12    seating at the front of the class. 480 F.Supp.2d. at 636-637. During his ninth grade
  13    school year, the student wanted to have a service dog accompany him to school to
  14    help him focus on the spoken word in the classroom. Id. at 615. The court
  15    considered whether the district had provided the student with reasonable
  16    accommodations, noting that the district is not required to provide the student "with
  17    every accommodation which he may request." Id. at 640 (citations omitted). In the
  18    court's view, the accommodations already provided by the district were
  19    "extraordinary." Id at 641. Notably, even though he could not hear every spoken
  20    word, the student was deemed to have "meaningful access" because student was
  21    successful in school with accommodations that allowed him to participate in the
  22    "mainstream" of school life. Id.(emphasis added.)
  23              Here, Plaintiff is unable to meet her burden of proof to show that she has
  24    been denied meaningful access to her educational program. The administrative
  25    record from the DPH, including the numerous factual and legal findings set forth in
  26    the Decision, establish that Student's existing educational program at Beckman is
  27    providing her with "meaningful access" to her educational program. Through this
  28    date, K.M.'s teachers continue to uniformly report that K.M. is fully participating in

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         each component of her classes, is accessing the curriculum, achieving grade level
    2    standards or above, and is an active and included participant in each of her classes.
    3    SUF, ¶26. In short, K.M. is participating in the "mainstream" of school life both in
    4   the classroom, and through her active participation in extra-curricular activities.
    5    SUF, 118-12. As such, there is no reasonable basis upon which it can be found that
    6   the District has discriminated against K.M. based solely on her disability. Based on
    7   K.M.'s continued success in her educational setting, as well as the numerous
    8   supports, services, on-going monitoring and accommodations being implemented
    9   for K.M., Plaintiff is unable to establish that she has been denied meaningful access
   10   to her education. Accordingly her Section 504 and ADA claims fail.
   11             C. Plaintiff Cannot Prove a Basis for an Award of Damages Because
                        Plaintiff Cannot Establish the District Acted With Deliberate
   12                   Indifference Towards K.M.
  13              In the unlikely event Plaintiff is able to establish a viable Section 504 or
  14    ADA claim, Plaintiff is not able to establish a viable claim for damages. To obtain
  15    monetary damages under Section 504 or the ADA, Plaintiff must prove that the
  16    District acted with deliberate indifference. Duvall v. County of Kitsap, 260 F.3d
  17    1124, 1138 (9th Cir. 2001) (requiring deliberate indifference under the ADA); Mark
  18    H., 513 F.3d at 938 (9th Cir. 2008) ("[W]e have held that plaintiffs must prove a
  19    mens rea of 'intentional discrimination,' to prevail on a § 504 claim, but that that
  20    standard may be met by showing 'deliberate indifference'...."); Alex G., 387 F.
  21    Supp. 2d at 1124 (requiring deliberate indifference under Section 504). Deliberate
  22    indifference requires knowledge that harm to a federally protected right is
  23    substantially likely to occur and a failure to prevent that likelihood. Id., at 1124,
  24    citing Duvall, 260 F.3d at 1139). In the special education context, Plaintiff "must
  25    show that the educational decisions relating to the student were so inappropriate as
  26    to constitute either bad faith or gross misjudgment." Id.
  27             Here, by virtue of the finding that the District has complied with its
  28    obligations under the IDEA, it simply cannot be the case that the District's actions

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    1   are compliant with the IDEA, on the one hand, and constitute deliberate
    2   indifference on the other. Further, the District's efforts to monitor and oversee
    3   K.M.'s educational program have been diligent, and are entirely inconsistent with a
    4   finding of deliberate indifference. AR001578-001581; AR001588-001589;
    5   Declaration of Misty Jones, 78-17; Decl. Rasmussen, 79-19. Moreover, K.M.
    6   herself has told staff on numerous occasions that she can hear in the classroom.
    7   SUF, 727-31. The District cannot be penalized for its reliance on these
    8   admissions. As such, a reasonable fact finder could not determine that the District's
    9   actions amount to deliberate indifference, and on that basis summary judgment
   10   should be granted to the District with respect to Plaintiff's claims for damages.
   11   VI. PLAINTIFF'S CLAIMS UNDER THE UNRUH CIVIL RIGHTS ACT
             FAIL AS A MATTER OF LAW AND SHOULD BE DISMISSED.
   12
                  Plaintiff's discrimination claims brought pursuant to the Unruh Act are
   13
        seemingly identical to Plaintiff's IDEA, Section 504, and ADA claims. Thus, as
   14
        Plaintiffs claims fail as a matter of law under Section 504 and the ADA, they
   15
        similarly must fail under the Unruh Act. As such, Plaintiff is not entitled to any
  16
        damages under the Unruh Act as sought for herein. Notwithstanding this fact,
  17
        Plaintiff's Third Cause of Action is further flawed, in that it fails to state a claim
  18
        upon which relief can be granted, and Plaintiff has not complied with the requisite
  19
        state procedures for asserting a claim for monetary damages from a public entity.
  20
                  A.       Plaintiff's Third Cause of Action Fails to State a Claim Upon
  21                       Which Relief Can Be Granted.
  22              Pursuant to California Government Code section 945.4, a plaintiff cannot
  23    pursue an action for damages against a public entity without first complying with
  24    the Government Claims Act (formerly Tort Claims Act) ("Act"). Cal. Gov . Code
  25    § 945.4; see generally Cal. Gov . Code § 945 et seq.; see also Ortega v. O'Connor,
  26    764 F.2d 703, 707 (9th Cir. 1985), rev'd on other grounds, 480 U.S. 709, (1987);
  27    Konig v. State Bar of Cal., 2004 U.S. Dist. LEXIS 19498 (N.D. Cal. 2004) (holding
  28    that the Tort Claims Act "requirement applies in federal court"). Here, Plaintiff

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        seeks monetary damages from the District for alleged violations of the Unruh Act,
    2   codified at California Civil Code section 51 et seq. See Compl. 1[1[ 28-33, p. 10
    3   (prayer for general and special damages).
    4             When filing a civil action for damages against a public entity, a plaintiff is
    5   required to plead facts showing or excusing compliance with the Act. Butler v.
    6   L.A. County, 617 F. Supp. 2d 994, 1001 (C.D. Cal. 2009) ("Plaintiffs must 'allege
    7   facts demonstrating or excusing compliance with the claim presentation
    8   requirements.' quoting State of California v. Superior Court ("Bodde"), 32 Cal.
    9   4th at 1239, 1243 (2004)); see also D.K. v. Solano County Office of Educ., 667 F.
   10   Supp. 2d 1184, 1195 (E.D. Cal. 2009). Since the District is a public entity, Plaintiff
   11   was required to plead either compliance or excusal with the Act as one element of
   12   the Third Cause of Action. See id. Plaintiff has failed to meet this requirement.
   13   See Compl. 28-33. As such, Plaintiffs Fourth Cause of Action fails to state a
  14    claim upon which any relief can be granted.
  15              B. Alternatively, Plaintiff Is Barred From Seeking Damages From the
                            District Pursuant to the Unruh Act for Failing to Substantively
  16                        Comply with the Government Claims Act.
  17              In addition to failing to state a claim, Plaintiff also failed to comply with the
  18    substantive requirements of the Act, which further bars Plaintiffs claim for
  19    damages pursuant to the Unruh Act. Claims against public entities are subject to a
  20    motion for summary judgment when an individual fails to comply with the
  21    applicable requirements of the Act. D.K., 667 F.Supp. 2d at 1199. Here, Plaintiff
  22    commenced the instant action on July 7, 2010. Plaintiff did not file a claim ("Claim
  23    Form") with the District until October 25, 2010, more than three months later, and
  24    sixteen (16) months after the date the claim accrued. Declaration of Leticia
  25    Barrozo ("Decl. Barrozo"), ¶5, Ex. "A." The Act requires presentment of claims
  26    for personal injury within six months. Cal. Gov . Code § 911.2. Therefore, Plaintiff
  27    did not meet the applicable statutory deadline when filing her Claim Foim with the
  28    District. Accordingly, on November 10, 2010, the District denied Plaintiff's claim

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    1   because it was not presented within six months of the date upon which it accrued.
    2   Decl. Barrozo, ¶6, Ex. "B."
    3             On October 25, 2010, Plaintiff also filed an application with the District to
    4   file a late claim, further acknowledging the untimely nature of the underlying claim.
    5   Decl. Barrozo, ¶, Ex. "A." However, applications to file late claims only apply to
    6   those claims required to be filed within six months, and still must be filed "within a
    7   reasonable time not to exceed one year after the accrual of the cause of action...."
    8   Cal. Gov . Code § 911.4(b). Here, Plaintiff sought leave to file a late claim over
    9   sixteen months after her claim had accrued, and therefore further meet the statutory
   10   timelines for seeking leave to file a late claim with the District. On December 14,
   11   2010, the District denied Plaintiff's application to file a late claim. Decl. Barrozo,
   12   ¶¶9-10, Exs. "D" and "E."
   13             When a public entity denies leave to file a late claim, an individual may
   14   petition a state court for an order relieving him and/or her from the requirements of
  15    Section 945.4 of the Act. Cal. Gov . Code § 946.6(a). However, Plaintiff never
  16    petitioned the state court for relief from the requirements of Section 945.4. See
  17    Decl. Barrozo, ¶11. As such, Plaintiff's request for damages must fail.
  18    VII. CONCLUSION.
  19              Based on the foregoing, the District hereby requests that summary judgment
  20    be granted in favor of the District.
  21    Dated: April 4, 2011                         BEST BEST & KRIEGER LLP
  22
  23                                                 By: /s/ Jennifer C. Brown
                                                         Jennifer C. Brown
  24                                                     Daniel S. Roberts
                                                         Megan M. Moore
  25                                                     Attorneys for Defendant,
                                                         TUSTIN UNIFIED SCHOOL
  26                                                     DISTRICT
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